Case 2:05-cr-20030-.]PI\/| Document 98 Filed 08/29/05 Page 1 of 3 Page|D 122

 

iN THE UNITED sTATEs DIsTRIcT cOURT nmev_, .,.._J.c\
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
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Plaintiff ,

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I`IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant (s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the Septemher,

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2005, criminal rot:?ion calendar, but is now RESET for pepegt at
8':4$ T"H€s~

§TS€-a.m. on Frtda¥ eptember 2§¢ 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under

the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26th day of August, 2005.

Th§s document entered on the docket heat in compliance
with Ru\e 55 ancilch 32(§3) FRCrP on § "32"@§

Case 2:05-cr-20030-.]PI\/| Document 98 Filed 08/29/05 Page 2 of 3 Page|D 123

SO ORDERED this 26th day of August, 2005.

0 mdl

JO PHIPPS MCCALLA
I'I`ED STA'I`ES DISTRICT JUDGE

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ant United States A

 

 

 

 

Counsel for Defendant(s)

 

ISTRIC COURT - WESRTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 98 in
case 2:05-CR-20030 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

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Honorable .1 on McCalla
US DISTRICT COURT

